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               CIVIL CAUSE FOR STATUS CONFERENCE
BEFORE: JUDGE FEUERSTEIN

DATE:     February 20, 2020                                         TIME: 30 Minutes
                                                                                          FILED
                                                                                          CLERK
CASES:                 19cv05738 Passalacqua v. County of Suffolk
                       19cv1546 Nin v. County of Suffolk                        2/20/2020 4:10 pm
                                                                                 U.S. DISTRICT COURT
PLTFFS ATTY:           Richard Young                                        EASTERN DISTRICT OF NEW YORK
                                                                                 LONG ISLAND OFFICE
                        X Present                 Not Present

DEFTS ATTY:            William Wexler (Town of Islip); Arlene Zwilling (Suffolk County)

                       X Present                  Not Present


COURT REPORTER:                               COURTROOM DEPUTY: Bryan Morabito

OTHER:

 X     CASE CALLED.

       ARGUMENT HEARD / CONT'D TO                                   .

       DECISION:       ORDER(S) SIGNED / ENTERED ON THE RECORD / RESERVED.

OTHER:

       All discovery in both cases shall be completed by August 10, 2020. Discovery is referred

to the magistrate judge. In the interim, both cases are closed with leave to reopen on ten (10) days’

notice no later than August 20, 2020.

       The trial scheduled for March 30, 2020 in the Nin case is adjourned without date. A status

conference for both cases (for control date purposes) is set for November 4, 2020 at 11:15 a.m. in

courtroom 1010 of the Central Islip courthouse.
